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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF NEW YORK
________________________________________________

THE CANADIAN ST. REGIS BAND
OF MOHAWK INDIANS,
                          Plaintiff,
                                                                             Civil Action Nos.
UNITED STATES OF AMERICA,                                                    82-CV-783
                                      Plaintiff-Intervenor,                  82-CV-1114
                                                                             (NPM)
               v.

STATE OF NEW YORK, et al.,
                              Defendants.
_________________________________________________

THE ST. REGIS MOHAWK TRIBE, by
THE ST. REGIS MOHAWK TRIBAL COUNCIL
and THE PEOPLE OF THE LONGHOUSE AT
AKWESASNE, by THE MOHAWK NATION COUNCIL
OF CHIEFS,                                                                   Civil Action No.
                           Plaintiffs,                                       89-CV-829
                                                                             (NPM)
UNITED STATES OF AMERICA,
                                      Plaintiff-Intervenor,

       v.

STATE OF NEW YORK, et al.,
                              Defendants.
_________________________________________________


                     PLAINTIFF SAINT REGIS MOHAWK TRIBE’S
                    MOTION FOR PARTIAL SUMMARY JUDGMENT

       Plaintiff Saint Regis Mohawk Tribe hereby moves this court for partial summary

judgment on three legal questions that are necessary to resolve in order for the Tribe to establish

the prima facie case that it has stated a valid claim under the Nonintercourse Act, 25 U.S.C.

§177, and resolving whether the Defendant’s defenses of abandonment, release and

relinquishment, and disestablishment or diminishment are valid.



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       In addition, the Municipal Defendants also allege a counterclaim that the Plaintiff Tribe’s

rights created by the 1796 Treaty were “ceded, released, relinquished and/or disestablished by”

the state treaties at issue or by the 1838 Treaty of Buffalo Creek. Amended Answer, ¶119. The

State Amended Answer also sets out counterclaims of diminishment and disestablishment,

Counterclaims, ¶ 80, either through the State purchases or the Treaty of Buffalo Creek.

Amended Answer, ¶84-85 and 90-92. The Tribe seeks summary judgment that the 1796 Treaty

reservation has not been diminished or disestablished.

       An affidavit, and memorandum of law in support are submitted in support of this motion.

The Tribe hereby requests its motion be granted.




                                     Respectfully submitted,

                                     /s/ Marsha K. Schmidt
                                     Marsha K. Schmidt (NDNY Bar No. 512364)
                                     Attorney-at-Law
                                     14928 Perrywood Drive
                                     Burtonsville, MD 20866
                                     301-949-5176
                                     marsha@mkschmidtlaw.com
                                     Attorney for Plaintiff Saint Regis Mohawk Tribe

May 14, 2021




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